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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAII

  JASON WOLFORD, ALISON                 )   Civil Action No. _____________
  WOLFORD, ATOM KASPRZYCKI,             )
  HAWAII FIREARMS COALITION             )
                                        )
  Plaintiffs,                           )
                                        )
  v.                                    )   MEMORANDUM IN SUPPORT
                                        )   OF MOTION FOR TEMPORARY
  ANNE E. LOPEZ, IN HER OFFICIAL        )   RESTRAINING ORDER AND
  CAPACITY AS THE ATTORNEY              )   PRELIMINARY INJUNCTION
  GENERAL OF THE STATE OF               )
  HAWAII. MAUI COUNTY,                  )
                                        )
  Defendants.                           )
                                        )
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                                  I.     Introduction

       The Supreme Court’s decision in N.Y. State Rifle & Pistol Ass'n v. Bruen, 142

 S. Ct. 2111 (2022), compelled the State of Hawaii to issue permits to carry concealed

 handguns. Prior to Bruen, carry permits were almost never granted. See Young v.

 Hawaii, 896 F.3d 1044, 1071 n.21 (9th Cir. 2018) (“Hawaii counties appear to have

 issued only four concealed carry licenses in the past eighteen years. See 2000 Haw.

 Att'y Gen. Reps., Firearm Registrations in Hawaii, 2000 et seq;”). As a direct

 response to Bruen, on June 2, 2023, the Governor of Hawai‘i, signed Senate Bill

 1230 into law as Act 52 (“SB 1230”). SB 1230 includes several provisions which

 together ban the carrying of handguns in the vast majority of the State. These

 provisions go into effect on July 1, 2023.

       Plaintiffs are three Maui County residents who have been issued permits to

 carry concealed handguns by the Maui County Police Department (“MPD”) and

 organizations that has members who possess such permits. They challenge Hawaii’s

 prohibition on the carry of handguns in several areas they frequent. All would carry

 handguns to defend themselves at those locations but for Hawaii law. To that end,

 Plaintiffs seek a temporary restraining order and a preliminary injunction to enjoin

 enforcement of SB1230’s restrictions on carrying on private property open to the

 public, beaches, parks, restaurants that are licensed to serve alcohol, banks, financial

 institutions and the parking lots of all the aforementioned.


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                            II.    Statement of the Case

       In Hawaii, carrying a handgun is generally prohibited. Obtaining a handgun

 carry permit “acts as a limited exception to the State of Hawaii's "Place[s] to Keep"

 statutes, which generally require that gun owners keep their firearms at their "place

 of business, residence, or sojourn." H.R.S. §§ 134-23, 134-24, 134-25.”” Young v.

 Hawaii, 896 F.3d 1044, 1048 (9th Cir. 2018). SB 1230 specifically targets permit

 holders and restricts where individuals—who have met Hawaii’s background check

 and training requirements—are allowed to carry.

       In Hawaii, handgun carry permits are issued by the county Chiefs of Police

 pursuant to H.R.S. § 134-9. Just to acquire a handgun in Hawaii, all gun owners are

 fingerprinted, thoroughly investigated by the police and are required to undergo

 training. H.R.S. §134-2. Among other requirements, state law requires the county

 chiefs of police to promulgate additional standards to determinate that a carry permit

 applicant is “qualified to use the firearm in a safe manner” and “[a]ppear[s] to be a

 suitable person to be so licensed”. See H.R.S. §134-9. In Maui County, carry permit

 applicants must pass a shooting test to qualify for a carry permit. Complaint ¶ 31.

 Indeed, 27 States in the United States do not require a permit to carry in public.1


       1
         Those States are Alabama, Alaska, Arizona, Arkansas, Florida, Georgia,
 Idaho, Indiana, Iowa, Kansas, Kentucky, Maine, Mississippi, Missouri, Montana,
 Nebraska, New Hampshire, North Dakota, Ohio, Oklahoma, South Dakota,
 Tennessee, Texas, Utah, Vermont, West Virginia, and Wyoming. Permitless Carry
 States, bit.ly/3OxbWJD (last accessed June 22, 2023) (listing these States with
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 Permit holders, nationwide, are disproportionately law-abiding. See Philip J. Cook,

 et al., Gun Control After Heller, 56 U.C.L.A. L. Rev. 1041, 1082 (2009). SB 1230

 adds restrictions to where duly licensed individuals may carry a handgun. Plaintiffs

 specifically challenge: 1. H.R.S. §134-A (9) which prohibits carry in parks and

 beaches and their parking lots; 2. H.R.S. §134-A (4) to the extent it bans the carry of

 handguns in restaurants and their parking lots; 3. H.R.S. §134-A (12) prohibition on

 the carrying of handguns in banks, financial institutions and their parking lots; 4.

 H.R.S. §134-E which prohibits “[c]arrying or possessing a firearm on private

 property of another person without authorization” in its entirety; 5. H.R.S. §134-A

 (1) to the extent that duplicates the ban on carry challenged elsewhere in this lawsuit

 (e.g. the parking lot of parks and beaches that have government buildings).

                             III.    Impact on Plaintiffs

       Each individual plaintiff has a valid concealed carry permit issued to them by

 the Maui County Police Department. Complaint ¶ ¶ 59, 60, 61. Associational plaintiff

 Hawaii Firearms Coalition has members who have been issued concealed carry

 permits in Maui and elsewhere in Hawaii. Complaint ¶ 4.




 corresponding statutory citations). A 28th State, Louisiana, limits permitless carry
 to those with military service. Id. The legislature is currently considering expanding
 permitless carry to all adults. See Jenna Bridges, Louisiana panel approves
 permitless concealed carry for adults, 4WWL CBS (May 17, 2023),
 https://bit.ly/430FSSS.

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       Plaintiffs all regularly visit places within Maui County that are impacted by

 H.R.S. §134-E, parks, beaches, restaurants that serve alcohol, banks and the

 accompanying parking lots of all of the aforementioned. And but for the challenged

 laws would carry while visiting these locations within Maui County. Complaint ¶ ¶

 59, 60, 61. Plaintiff Kasprzycki is additionally burdened by H.R.S. §134-E because

 he is a private business owner who owns the property his business is located in which

 is open to the public. Complaint ¶ ¶ 62, 64, 66, 67. H.R.S. §134-E compels him to

 post a sign or otherwise share his view on firearm carry in order to allow others to

 carry on his property. That he is unwilling to do. Complaint ¶ 65. But for the

 challenged law, he would allow others to carry on his property. Id.

                                  IV.    ARGUMENT

    A. Standard for a Temporary Restraining Order/Preliminary Injunction



       To obtain preliminary injunctive relief, the moving party must show: (1) a

 likelihood of success on the merits; (2) a likelihood of irreparable harm absent

 preliminary relief; (3) that the balance of equities tips in favor of injunction; and (4)

 that an injunction is in the public interest. Am. Trucking Ass’ns, Inc. v. City of Los

 Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009) (quoting Winter v. Nat. Res. Def.

 Council, Inc., 55 U.S. 7, 20 (2008)). Alternatively, an “injunction is appropriate

 when a plaintiff demonstrates that serious questions going to the merits were raised

 and the balance of hardships tips sharply in the plaintiff’s favor.” Alliance for the
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 Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011) (internal citation

 omitted). The standard for issuing a temporary restraining order is the same as that

 for issuing a preliminary injunction. Tipple v. County of San Diego, 2006 U.S. Dist.

 LEXIS 106905, *5-6.

          B. Plaintiffs Have a Strong Likelihood of Success on the Merits

       “[T]he Second Amendment guarantees a general right to public carry,” meaning

 ordinary, law-abiding citizens may “‘bear’ arms in public for self-defense.” Bruen, 142

 S.Ct. at 2135. Accordingly, the “general right to public carry” cannot be restricted

 absent “exceptional circumstances.” Bruen, 142 S. Ct. at 2156 (emphasis added). To

 determine whether a state’s restriction is constitutional, the Court in Bruen explained

 that “the standard for applying the Second Amendment is as follows: When the Second

 Amendment’s plain text covers an individual’s conduct, the Constitution

 presumptively protects that conduct. The government must then justify its regulation

 by demonstrating that it is consistent with the Nation’s historical tradition of firearm

 regulation.” 142 S. Ct. at 2129–30. It is the State’s burden to “affirmatively prove that

 its firearms regulation is part of the historical tradition that delimits the outer bounds

 of the right to keep and bear arms.” Id. at 2127; see also id. at 2150 (“[W]e are not

 obliged to sift the historical materials for evidence to sustain New York’s statute. That

 is respondents’ burden.”). If the State fails to meet its burden, then the State’s

 restrictions must be enjoined.


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                    1. Plaintiffs’ conduct is covered by the Second
                       Amendment’s plain text

       If the plaintiffs’ proposed course of conduct falls within the Second

 Amendment’s plain text, then “the Constitution presumptively protects that

 conduct.” Bruen, 142 S. Ct. at 2126. The Supreme Court has defined allof the Second

 Amendment’s key terms. “The people” means “all Americans”; “Arms” includes

 “all instruments that constitute bearable arms”; and, most relevant here, to bear

 simply means to “carry.” District of Columbia v. Heller, 554 U.S. 570, 580–82, 584

 (2008). “Nothing in the Second Amendment’s text draws a home/public distinction,”

 Bruen, 142 S. Ct. at 2134—or for that matter, any distinction between locations at

 all. That makes the Second Amendment unlike other Amendments. See U.S. CONST.

 amend. III (“No Soldier shall, in time of peace be quartered in any house, without

 the consent of the Owner, nor in time of war, but in a manner to be prescribed by

 law.”); U.S. CONST. amend. IV (“The right of the people to be secure in their persons,

 houses, papers, and effects, against unreasonable searches and seizures, shall not be

 violated.”). And it means that any locational restrictions on Second Amendment

 rights must come from history, not from the plain text.

       The Supreme Court’s binding determination of the meaning of these words

 and phrases definitively resolves the question of whether Plaintiffs’ proposed

 conduct is presumptively protected by the Second Amendment. Plaintiffs and their

 members are Americans who seek to carry bearable arms for self-defense. As in
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 Bruen, these undisputed facts end the textual inquiry: “the plain text of the Second

 Amendment protects [Plaintiffs’] proposed course of conduct—carrying handguns

 publicly for self-defense.” 142 S. Ct. at 2134. Accordingly, under Bruen’s

 unambiguous directions, “the burden falls on [the State] to show that [the challenged

 ban] is consistent with this Nation’s historical tradition of firearm regulation.” Id. at

 2135; see also Koons v. Platkin, 22-CV-7463 (RMB/AMD), 2023 WL 3478604, at

 *62 (D.N.J. May 16, 2023); Christian v. Nigrelli, 22-CV-695 (JLS), 2022 WL

 17100631, at *7 (W.D.N.Y. Nov. 22, 2022); Hardaway v. Nigrelli, 22-CV-771

 (JLS), 2022 WL 16646220, at *13 (W.D.N.Y. Nov. 3, 2022).

                     2. Controlling considerations under Bruen

       The State bears a burden that it will not be able to meet for the challenged

 provisions because there is no historical tradition of analogous regulations that

 demonstrate these provisions are consistent with the Second Amendment. In Bruen,

 the Supreme Court set out several requirements to determine whether a tradition of

 historical regulations is sufficiently analogous to justify a modern restriction.

       First, the relevant time period for the historical analogue must be the Founding,

 centering on 1791. Bruen, 142 S.Ct. at 2135–36; see also Mark W. Smith, ‘Not all

 History is Created Equal’: In the Post-Bruen World, the Critical Period for Historical

 Analogues Is when the Second Amendment Was Ratified in 1791, and not 1868, SSRN,

 Oct. 1, 2022, https://bit.ly/3CMSKjw. That is because “‘[c]onstitutional rights are


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 enshrined with the scope they were understood to have when the people adopted

 them.’” Bruen, 142 S. Ct. at 2136, quoting Heller, 554 U.S. at 634–35. Although the

 Court in Bruen noted an academic debate surrounding whether courts should look to

 1868 and Reconstruction (when the Fourteenth Amendment was adopted), the Court

 found no need to address the point as the result with respect to carry was the same.

 Bruen, 142 S. Ct. at 2138 (“[T]he public understanding of the right to keep and bear

 arms in both 1791 and 1868 was, for all relevant purposes, the same with respect to

 public carry.” (emphasis added)).

       But there can be no doubt that the actual analysis of the Court is focused on

 l791. See Worth v. Harrington, 2023 WL 2745673 at *11 (D. Minn. Mar. 31, 2023)

 (noting the “rather clear signs that the Supreme Court favors 1791 as the date for

 determining the historical snapshot of ‘the people’ whose understanding of the Second

 Amendment matters”). The Court noted that its past precedents had “assumed that the

 scope of the protection applicable to the Federal Government and States is pegged to

 the public understanding of the right when the Bill of Rights was adopted in 1791.”

 Bruen, 142 S. Ct. at 2137. The Court likewise stated that the courts should “guard

 against giving post-enactment history more weight than it can rightly bear.” Id. at 2136.

 Justice Barrett, in her concurring opinion, stressed this point, noting that “today’s

 decision should not be understood to endorse freewheeling reliance on historical

 practice from the mid-to-late 19th century to establish the original meaning of the Bill


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 of Rights.” Id. at 2163 (Barrett, J., concurring). And the Court “made no small effort

 to distance itself from even Heller’s reliance on post-enactment history except to the

 extent that such history was consistent with the founding era public meaning. Worth,

 2023 WL 2745673 at *11, (citing Bruen, 142 S. Ct. at 2136–37). Bruen’s

 characterization of the Court’s precedents as assuming that 1791 is the proper answer

 is an understatement. In Espinoza v. Montana Department of Revenue, 140 S. Ct. 2246

 (2020), for example, the Court held that “more than 30” provisions of state law enacted

 “in the second half of the 19th Century” could not “evince a tradition that should

 inform our understanding of the Free Exercise Clause” when those provisions lacked

 grounding in Founding Era practice. Id. at 2258–59 (emphasis added).

       Second, Bruen reiterated that “individual rights enumerated in the Bill of Rights

 and made applicable against the States through the Fourteenth Amendment have the

 same scope as against the Federal Government.” 142 S. Ct. at 2137. In McDonald v.

 City of Chicago, 561 U.S. 742, 765 (2010), the Court decisively rejected a different

 standard for States under the Second Amendment, holding that “incorporated Bill of

 Rights protections are all to be enforced against the States under the Fourteenth

 Amendment according to the same standards that protect those personal rights against

 federal encroachment” (internal quotation marks omitted). There should be no dispute

 that 1791 is controlling as to the federal government and, since the standard is the same,

 there can be no reasonable dispute that standard is likewise applicable to the States.


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       Bruen relied on two very recent decisions, Ramos v. Louisiana, 140 S. Ct. 1390

 (2020), and Timbs v. Indiana, 139 S. Ct. 682 (2019), to illustrate the point. Ramos held

 that the Sixth Amendment right to a unanimous jury verdict was incorporated against

 the States and overruled prior precedent that had allowed the States to adopt a different

 rule under a “dual track” approach to incorporation. The relevant historical benchmark

 for the Court’s analysis was 1791. Ramos 140 S. Ct. at 1396 (discussing the history in

 “young American states” and the “backdrop” of the ratification of the Bill of Rights in

 1791). Similarly, in Timbs, the Court held that the Excessive Fines provision of the

 Eighth Amendment was incorporated as against the States. 139 S. Ct. at 686–87. The

 Court once again looked to the scope of the right as it existed in 1791. Id. at 687–88

 (discussing “colonial-era provisions” and the “constitutions of eight States”). The

 Court’s other precedents are in accord. See, e.g., Gamble v. United States, 139 S. Ct.

 1960, 1975–76 (2019) (explaining that Heller sought to determine “the public

 understanding in 1791 of the right codified by the Second Amendment”); Virginia v.

 Moore, 553 U.S. 164, 168 (2008) (“We look to the statutes and common law of the

 founding era to determine the norms that the Fourth Amendment was meant to

 preserve.”); cf. Lynch v. Donnelly, 465 U.S. 668, 674 (1984) (“The interpretation of

 the Establishment Clause by Congress in 1789 takes on special significance.”). That

 this case challenges State-imposed restrictions and not federal law is thus irrelevant.

       In all events, “to the extent later history contradicts” the text of the Second


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 Amendment, “the text controls.” Bruen, 142 S. Ct. at 2137. “Thus, ‘post-ratification

 adoption or acceptance of laws that are inconsistent with the original meaning of the

 constitutional text obviously cannot overcome or alter that text.’” Id. at 2137 (quoting

 Heller v. District of Columbia, 670 F.3d 1224, 1274, n.6 (D.C. Cir. 2011) (Kavanaugh,

 J., dissenting)). Moreover, 20th century and late 19th century statutes and regulations

 “cannot provide much insight into the meaning of the Second Amendment when it

 contradicts earlier evidence.” Bruen, 142 S. Ct. at 2154 & n.28. Thus, restrictions on

 the right to keep and bear arms dating after the Civil War and after the adoption of the

 Fourteenth Amendment in 1868 may be confirmatory of earlier legislation but cannot

 be used alone to provide the appropriate historical analogue required by Bruen. In other

 words, only “enduring” and “well-established” restrictions with roots in the Founding

 are relevant in assessing whether the challenged restrictions comport with the Second

 Amendment’s “unqualified command.” Id. at 2126 (quoting Konigsberg v. State Bar

 of Cal., 366 U.S. 36, 50 n.10 (1961)).

       Third, the historical analogues the State points to must be “representative.”

 Historical “outlier” requirements of a few jurisdictions or of territorial governments

 are to be disregarded. Bruen, 142 S. Ct. at 2133, 2153, 2147 n.22 & 2156. This means

 regulations from only a handful of states or those that cover only a small portion of the

 population are not enough to demonstrate that modern regulations are consistent with

 the Second Amendment. Id. at 2155 (rejecting regulations applying to only 1% of the


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 American population); see also Koons, 2023 WL 3478604 at *78, *85 (finding

 regulations covering 10% and 15% of American population insufficient). Buren also

 categorically rejected reliance on laws enacted in the Territories, including expressly

 “Arizona, Idaho, New Mexico, Oklahoma,” holding that such laws “are most unlikely

 to reflect ‘the origins and continuing significance of the Second Amendment’ and we

 do not consider them ‘instructive.’” Bruen, 142 S. Ct. at 2154 (quoting Heller, 554

 U.S. at 614) (emphasis added).

       Fourth, the historical analogues must be “relevantly similar,” which is to say

 that they must burden ordinary, law-abiding citizens’ right to carry for self-defense in

 a similar manner and for similar reasons. Bruen, 142 S. Ct. at 2132. Bruen held that

 the inquiry into whether an analogue is proper is controlled by two “metrics” of “how

 and why” any restriction was historically imposed during the Founding era. Id. at 2133.

 “[W]hether modern and historical regulations impose a comparable burden on the right

 of armed self-defense and whether that burden is comparably justified are ‘central’

 considerations when engaging in an analogical inquiry.” Id. (emphasis in original). For

 example, poaching and hunting restrictions are thus generally insufficient to

 demonstrate the constitutionality of a modern-day restriction that regulates carrying

 firearms during day-to-day life. Both how hunting laws burdened the right to carry

 firearms for self-defense (when hunting) and why they did so (to regulate hunting, to

 reduce the taking of certain animals in certain places during certain seasons) have little


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 or nothing to do with restricting the right of self-defense in modern-day Hawaii. See,

 e.g., Koons, 2023 WL 3478604 at *64–*65.

       In attempting to “affirmatively prove” that its restrictions on public carry are

 consistent with the Nation’s historical tradition, Hawaii may refer to historical

 analogues, such as restrictions on carrying in “sensitive places” at the Founding and

 claim those meet Bruen’s “how” and “why” standard. 142 S. Ct. at 2127, 2133. The

 Supreme Court has endorsed only three such places “where weapons were altogether

 prohibited,” naming “legislative assemblies, polling places, and courthouses.” Id. at

 2133. While Bruen cites Heller’s suggestion that sensitive places may include

 “schools and government buildings,” the Court focused on only “legislative

 assemblies, polling places, and courthouses” for purposes of conducting the inquiry

 into analogues. Id. The Court stated explicitly that “courts can use analogies to those

 historical regulations of ‘sensitive places’ to determine that modern regulations

 prohibiting the carry of firearms in new and analogous sensitive places are

 constitutionally permissible.” Id. (emphasis added). Accordingly, “sensitive places”

 cannot be construed “too broadly,” i.e., beyond what the historical tradition at the

 Founding demonstrates, and these certainly do not authorize restrictions that “would

 in effect exempt cities” or entire States “from the Second Amendment.” Id. at 2134.

 Sensitive places may not be used to “eviscerate the general right to publicly carry

 arms for self-defense.” Id. After all, governments may bar the carrying of firearms


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 in only “exceptional circumstances.” Id. at 2145. The exception cannot become the

 rule.

         Fifth, the historical analysis required by the Supreme Court is a legal inquiry

 that examines legal history, which is appropriately presented in briefs. See Bruen, 142

 S. Ct. at 2130 n.6 (noting that the historical inquiry presents “legal questions” that

 judges can address) (emphasis in original); see also id. at 2135 n.8 (rejecting the

 dissent’s suggestion that further fact-finding was needed and holding that its ruling did

 not “depend upon any of the factual questions raised by the dissent”). Accordingly, the

 required analysis does not require fact-finding by a court. With these analytical

 guideposts established by Bruen, the State cannot meet its burden to justify the

 challenged restrictions on carrying firearms.

                3.    H.R.S. §134-E Violates the Second Amendment

         H.R.S. §134-E is unconstitutional. It is important to note that a trial court in

 New Jersey recently enjoined a law virtually identical to Hawaii’s See Koons v.

 Platkin, No. 22-7464 (RMB/AMD), 2023 U.S. Dist. LEXIS 85235 (D.N.J. May 16,

 2023) (“Koons II”). And the Third Circuit just refused to grant a motion to stay of

 that trial court’s preliminary injunction as to New Jersey’s version of H.R.S. §134-

 E. See Koons v. Attorney General of New Jersey, Case No. 23-1900, Doc. 29, Order

 (3rd Cir. June 20, 2023) (“Koons III”) (attached). A party must show a likelihood of

 success on the merits to be granted a stay. Nken v. Holder, 556 U.S. 418, 433-34,


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 129 S. Ct. 1749, 173 L. Ed. 2d 550 (2009)). Thus, in denying New Jersey’s motion,

 the Third Circuit has implicitly found the relevant law is likely unconstitutional.

       SB 1230 enacts, for the first time in Hawaii’s history, a presumption against

 carrying firearms in property open to the public. Hawaii will be unable to

 demonstrate that this new Anti-Carry Default “permissibly regulates the right to

 carry for self-defense in public.” Koons, 2023 WL 3478604 at *68. The main reason

 is that the Anti-Carry Default is the exact opposite of this Nation’s traditional

 regulatory approach, which has entrusted “private property owners” with principal

 responsibility to exercise the “right to exclude others from their property”

 throughout American history. Christian, 2022 WL 17100631 at *9. The historical

 default rule has been that “carrying on private property” is “generally permitted

 absent the owner’s prohibition.” Id. (emphasis added).

       This concept is basic to the law of trespass. “[T]the well-developed concept

 of implied license . . . operates to grant permission to enter another’s premises

 according to custom or other indicia of consent.” Koons, 2023 WL 3478604 at *58.

 As to property otherwise open to the public, “the public has the implied consent to

 enter, unless such consent is conditioned or subsequently revoked by the property

 owner.” Id; see also Royal Inv. Grp., LLC v. Wang, 183 Md.App. 406, 961 A.2d 665,

 688 (2008) (“Consent may be express or implied.”). Bruen confirms that there is a

 “general right to publicly carry arms for self-defense.” 142 S. Ct. at 2134. That


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 “general right” necessarily means that “[t]he right to armed self-defense follows the

 individual everywhere he or she lawfully goes” in public outside of the “exceptional

 circumstances” when a government may bar firearms. Koons, 2023 WL 3478604 at

 *61; Bruen, 142 S. Ct. at 2155. The right to carry for self-defense thus extends to

 private property open to the public, “presumptively,” unless the owner affirmatively

 “withdraw[s] consent.” Koons, 2023 WL 3478604 at *61. Plaintiffs here do not

 challenge that right of a private property owner. Given this basic and well-

 established premise of trespass law, the State will be unable to point to any relevant

 historical tradition of firearm regulation from the Founding suggesting otherwise.

 See, e.g., Koons, 2023 WL 3478604 at *68 (granting restraining order against New

 Jersey on a similar law); Christian, 2022 WL 17100631 at *9.

       This is unsurprising as the academic proponents behind the Anti-Carry

 Default conceded that it would be novel and be a significant departure from this

 Nation’s history of firearm regulation. In their book expanding on anti-carry default

 rules, the proponents stated that “[a]n implied condition of every invitation [onto

 another’s property] is that the invitee is welcome to bring a firearm.” Koons, 2023

 WL 3478604 at *58 n.35. In fact, as of 2020, “no state ha[d] adopted generalized

 ‘no carry’ defaults for retail establishments.” Ian Ayres and Spurthi Jonnalagadda,

 Guests with Guns: Public Support for “No Carry” Defaults on Private Land, 48 J

 L. MED. & ETHICS 183 (2020) (emphasis added).


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       The reason Hawaii has sought to change the default rule is plain: “[g]iven the

 inertial tendency to stick with the status quo, lawmakers should expect that a

 ‘prohibited-unless permitted’ default would radically expand the private spaces

 where guns could not be carried.” Id. After all, a “default rule” of interaction with

 strangers, i.e., members of the public coming to a property open to the public, is

 particularly “sticky.” See generally OMRI BEN-SHAHAR & JOHN A. E. POTTOW, On

 the Stickiness of Default Rules, 33 FLA. ST. L. REV. 651, 653 (2006),

 https://bit.ly/3pWXM6Y (last visited June 23, 2023). By “sticky,” legal scholars

 mean that individuals have a well-known tendency to stick by the default rule even

 when they would otherwise take a different position. Id. at 651–54. Thus, Hawaii

 can expect many owners of property, who would otherwise allow or be indifferent

 to lawful carrying of firearms on their property, to simply stick with the new default.

 As they do so, the Anti-Carry Default “might have knockon effects, reducing

 preferences to carry and possess firearms more generally, as it becomes increasingly

 inconvenient to do so.” Ayres & Jonnalagadda, 48 J L. MED. & ETHICS at 184. This

 is likely for individual Plaintiffs, who have all declared that they would drastically

 reduce their carry for self-defense when the Anti-Carry Default goes into effect.

 Complaint at ¶ ¶ 59, 60, 61.

       At bottom, Hawaii may have policy reasons that it seeks to change the default

 rule for carrying firearms in property open to the public as a means to stop


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 individuals from exercising their rights. But the Second Amendment “is the very

 product of an interest balancing by the people” and it “surely elevates above all other

 interests the right of law-abiding, responsible citizens to use arms” for self-defense.”

 Bruen, 142 S. Ct. at 2131 (quoting Heller, 554 U.S. at 635). Because of “this

 balance—struck by the traditions of the American people,” id., — “certain policy

 choices” have been definitively taken “off the table,” Heller, 554 U.S. at 636.

 Among these policy choices is establishing a presumption against carrying in

 buildings open to the public because the Second Amendment itself establishes a

 presumption that Plaintiffs and other licensed, law-abiding citizens have a “right to

 ‘bear’ arms in public for self-defense.” Bruen, 142 S. Ct. at 2135. Hawaii may not

 flip a presumption codified in the Constitution. But that is exactly what Hawaii has

 done by dictating that all buildings open to the public are now presumptively off-

 limits without conspicuous signage or express consent. No historical analysis can

 support such a law.

                     4. H.R.S. §134-E Requires Unconstitutional Compelled
                        Speech

       The First Amendment prohibits the State from telling people what they must

 say. See Nat'l Inst. of Fam. & Life Advocs. v. Becerra, 138 S. Ct. 2361, 2371 (2018);

 See also Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 213

 (2013). The private property sign or other form of consent requirement in H.R.S.


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 §134-E impermissibly compels the speech of property owners and lessees. It requires

 property owners and lessees to espouse a belief one way or the other on the carriage

 of firearms outside the home by requiring them to expressly consent or post a sign.

 Plaintiff Atom Kasprzycki owns an architecture business. He also owns sections of

 the building which his business is in. Complaint at ¶ 62. Plaintiff Kasprzycki would

 allow the carry of handguns on his property, but he does not want to have to post a

 sign on his property explicitly saying so or otherwise have to expressly give consent.

 Complaint at ¶ 63. Hawaii’s requirement that he do so prior to allowing people to

 carry handguns on his property violates his First Amendment rights.

                    5. The Park and Beach Ban is Unconstitutional

       There is nothing new about parks and beaches and there is nothing new about

 potential violence in parks or public green spaces set aside by the government

 generally. The carry ban in parks, beaches and their parking lots is unconstitutional.

 Boston Common is considered “America’s oldest park” and was established in 1634.

 Not only was it commonly used for militia purposes (making it not a gun-free zone),

 “[t]he Common also served as a site for informal socializing and recreation”

 including “[s]trolling,” “[h]orse- and carriage-riding,” “sports,” “entertainment,”

 and “raucous celebrations.” See Anne Beamish, Before Parks: Public Landscapes in

 Seventeenth- and Eighteenth-Century Boston, New York, and Philadelphia, 40

 Landscape J. 1, 4-6 (2021). In New York, City Hall Park began as a “public


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 common” in the 17th century. The Earliest New York City Parks, N. Y. City Dep’t.

 of Parks and Recreation, available at https://on.nyc.gov/3hBZXfe (last visited June

 23, 2022). New York’s Bowling Green Park was established “for the Recreation &

 Delight of the Inhabitants of [New York] City” in 1733. Id. In the South, Savannah

 was planned around public squares—open green spaces which became the

 landscaped parks that residents know today. See Turpin Bannister, Oglethorpe’s

 Sources for the Savannah Plan, 20 J. of Soc’y of Arch. Hist. 47, 48 (1961) (noting

 Savannah’s squares started initially as “open, unplanted plazas” and were

 “remodel[ed] . . . around 1800 . . . into landscaped neighborhood parks”). And of

 course, public beaches have always existed in the United States. Despite the

 existence of parks and beaches dating to the Founding, there is no relevantly similar

 historical tradition of banning firearms by ordinary, law-abiding citizens. Moreover,

 much of the land covered by H.R.S. §134-A are “vast expanses” of the great outdoors

 “where people are generally free to roam.” Antonyuk v. Hochul, No. 1:22-cv-0986,

 2022 WL 16744700, at *66 (N.D.N.Y. Nov. 7, 2022)(“Antonyuk III”). And the State

 will simply be unable to point to any historical tradition of banning firearms in the

 parks or beaches.

       Even prior to Bruen, courts had rejected such locations as “sensitive places.”

 See, e.g., Bridgeville Rifle & Pistol Club, Ltd. v. Small, 176 A.3d 632, 658 (Del.

 2017) (holding that State parks and State forests were not “sensitive places” and that


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 the State’s ban on firearms in such places was unconstitutional under Delaware’s

 version of the Second Amendment); People v. Chairez, 2018 IL 121417, 104 N.E.3d

 1158, 1176 (2018) (holding that an Illinois statute that banned the possession of a

 firearm within 1000 feet of a public park violated the Second Amendment, rejecting

 the argument that the area was a “sensitive” place); Morris v. Army Corps of Eng’rs,

 60 F. Supp. 3d 1120, 1123–25 (D. Idaho 2014), appeal dismissed, 2017 WL

 11676289 (9th Cir. Dec. 15, 2017), (rejecting the government’s argument that U.S.

 Army Corps of Engineers’ outdoor recreation sites were sensitive places); Solomon

 v. Cook Cnty. Bd. of Comm’rs, 559 F.Supp.3d 675, 690–96 (N.D. Ill. 2021) (finding

 a forest preserve district was not a “sensitive place”).

                     6. Hawaii’s Carry Ban in Restaurants That Serve Alcohol
                        and Their Parking Lots is Unconstitutional

       H.R.S. §134-A(4) also prohibits the carry of handguns in locations licensed

 to sell or dispense alcohol, namely bars and restaurants as well as their parking lots.

 With this and its other location-specific prohibitions, Hawaii has made it doubly

 illegal to carry into such locations, first by prohibiting all carry of firearms into

 private property without express consent or signage and second, by banning carry in

 such places regardless of the owner’s wishes. The State will be unable to support

 this restriction with historical evidence from the Founding.

       It should be undisputed that “taverns, inns, public houses, ‘tippling houses,’

 ‘victualing houses,’ or ‘ordinaries’” existed during the Founding. Antonyuk III, 2022
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 WL 16744700 at *74. In fact, Benjamin Franklin engaged in “constant study” at a

 library that he founded to avoid the “amusement” that he would otherwise find “in

 taverns, games, or frolics of any kind.” Benjamin Franklin, The Autobiography of

 Benjamin Franklin 148 (Smyth, ed., 1907). While Franklin sought to regulate his

 private habits, other members of the Founding generation sought to regulate these

 institutions by public means. “In all states” during the Founding era, “tavern

 legislation was involved and constantly changing.” Christine Sismondo, America

 Walks Into a Bar: A Spirited History of Taverns, Saloons, Speakeasies and Grog

 Shops 15 (Oxford 2011). Nevertheless, we are unaware of any ban on mere

 possession of firearms in these places. The absence of any Founding era analogues

 is dispositive. “[W]hen a challenged regulation addresses a general societal problem

 that has persisted since the 18th century, the lack of a distinctly similar historical

 regulation addressing that problem is relevant evidence that the challenged

 regulation is inconsistent with the Second Amendment.” Bruen, 142 S. Ct. at 2131.

 And even if there were, there certainly were never regulations which prohibited the

 carry of firearms in the parking lot of a place that sold alcohol. Establishments

 licensed to serve alcohol have existed for centuries. Nevertheless, the State will be

 unable to demonstrate a historical tradition of “criminaliz[ing]” an ordinary, law-

 abiding citizen’s “mere presence at those locations with a handgun.” Koons, 2023

 WL 3478604 at *86.


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                     7. Hawaii’s Ban on Carry in Banks and Their Parking Lots
                        is Unconstitutional

       H.R.S. §134-A (12) bans the carry of handguns on the premises of any bank

 or financial institution including adjacent parking areas. Plaintiffs wish to carry both

 at their banks and in the parking lot of their banks. Banks have always existed in the

 United States. And historically, the government always allowed private banks to

 determine for themselves whether or not individuals could carry firearms there. The

 first bank in the U.S. was the Bank of North America in Philadelphia, which was

 chartered by the Continental Congress in 1781; Alexander Hamilton, Thomas

 Jefferson and Benjamin Franklin were among its founding shareholders. Wallack,

 Todd (December 20, 2011). "Which bank is the oldest? Accounts vary - The Boston

 Globe". The Boston Globe.2 In February 1784, The Massachusetts Bank in Boston

 was chartered. Id.3 Thus, banks have existed in this country since the time of the

 Founding. However, plaintiffs have not found any historical laws banning the carry

 of firearms at banks.    And there certainly were none in the parking lot of banks

 either. Thus, this Court should find both the restriction on carry at banks and

 separately the ban on carry in their parking lots unconstitutional.

                     8. Hawaii’s Ban on the Carry in Government Parking Lots
                        is Unconstitutional

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   See also https://www.aba.com/about-us/our-story/aba-history/1782
 1799#:~:text=Future%20Treasury%20Secretary%20Alexander%20Hamilton,opera
 ting%20today%20as%20BNY%20Mellon.
 3
   See also https://en.wikipedia.org/wiki/BNY_Mellon#cite_ref-Globe2011_7-3
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       H.R.S. § 134-A (a)(1) bans the carry of handguns in any building or office

 owned, leased, or used by the State or a county, and adjacent grounds and parking

 areas. Plaintiffs challenge the ban in government parking lots. This law also

 prohibits the carry of handguns in the parking lots of several places Plaintiffs

 frequent in addition to the laws challenged above. Complaint at ¶ ¶ 59, 60, 61.

 For all the reasons raised above, H.R.S. § 134-A (a)(1) is unconstitutional.

                  V.     Plaintiffs Will Suffer Irreparable Harm

       The remaining preliminary injunction factors follow readily. “It is well

 established that the deprivation of constitutional rights ‘unquestionably constitutes

 irreparable injury.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)

 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); 11A Charles Alan Wright et al.,

 Federal Practice and Procedure § 2948.1 (2d ed. 1995) (“When an alleged

 deprivation of a constitutional right is involved, most courts hold that no further

 showing of irreparable injury is necessary.”). The Ninth Circuit has imported the

 First Amendment “irreparable-if-only-for-a-minute” rule to other rights and, in

 doing so, has held deprivation of those rights is irreparable harm per se. Monterey

 Mech. Co. v. Wilson, 125 F.3d 702, 715 (9th Cir. 1997). The Second Amendment

 should be treated no differently. Ezell v. City of Chi., 651 F.3d 684. 700 (7th Cir.

 2011) (a deprivation of the right to arms is “irreparable and having no adequate



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 remedy at law.”). This Court has found Second Amendment violations constitute

 irreparable harm. Fisher v. Kealoha, 2012 U.S. Dist. LEXIS 90734, *40, 2012 WL.

                  VI.   Granting the TRO/PI is in the Public Interest

           The last two preliminary injunction elements merge when the government is

 the defendant. Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014)

 (citation omitted). When challenging government action that affects the exercise of

 constitutional rights, “[t]he public interest . . . tip[s] sharply in favor of enjoining

 the” law. Klein v. City of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009). As the

 Ninth Circuit has made clear, “all citizens have a stake in upholding the

 Constitution” and have “concerns [that] are implicated when a constitutional right

 has been violated.” Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005). The

 State “cannot suffer harm from an injunction that merely ends an unlawful practice

 or reads a statute as required to avoid constitutional concerns.” Rodriguez v.

 Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013); See Valle del Sol Inc. v. Whiting, 732

 F.3d 1006, 1029 (9th Cir. 2013) (“[I]t is clear that it would not be equitable . . . to

 allow the state . . . to violate the requirements of federal law.” (citations omitted)).

 On the other hand, granting an injunction will end the ongoing violation of Plaintiff’s

 rights.

                                   VII.   Conclusion

 The motion should be granted.


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 Dated: June 23, 2023.


                         Respectfully submitted,


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                               /s/ Alan Beck
                               Alan Alexander Beck




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